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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

IN RE:                                        Case No. 8:19-bk-01847-CPM
Jason Jeffrey Rockenbach,                     Chapter 7

         Debtor.                          /

                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY
                     (RE: 1004 EAST IDA STREET, TAMPA, FL 33603)

            NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING
Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within twenty-
one (21) days from the date set forth on the attached proof of service, plus an additional
three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555,
Tampa, FL 33602, and serve a copy on the movant's attorney, Lindsey Savastano, c/o
SHAPIRO, FISHMAN & GACHÉ, 2424 NORTH FEDERAL HIGHWAY, SUITE 360,
BOCA RATON, FLORIDA 33431, and any other appropriate person's within the time
allowed. If you file and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing, or consider the response and grant or deny the relief
requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.

        COMES NOW, Secured Creditor, U.S. Bank National Association, Successor Trustee to

Bank of America, N.A. as Successor to LaSalle Bank, N.A. as Trustee, for Merrill Lynch First

Franklin Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2007-3, by and

through its undersigned attorneys, moves the Court for an Order Granting Relief from the

Automatic Stay pursuant to 11 USC 362(d)(1) and 11 USC 362(d)(2)(A) and in support thereof

would show:




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        1.        This is a Motion pursuant to Bankruptcy Rule 4001(a) for Relief from the

automatic stay provisions of Section 362(a) of the Bankruptcy Code.

        2.        Debtor filed this case on March 5, 2019.

        3.        U.S. Bank National Association, Successor Trustee to Bank of America, N.A. as

Successor to LaSalle Bank, N.A. as Trustee, for Merrill Lynch First Franklin Mortgage Loan Trust,

Mortgage Loan Asset-Backed Certificates, Series 2007-3, is a secured creditor by virtue of a

promissory Note and Mortgage on real property, attached hereto as Exhibit “A”. Said real

property has the following legal description:

         THE SOUTH 90 FEET OF LOT 14, PIERCE SUBDIVISION, AS PER PLAT
         THEREOF, RECORDED IN PLAT BOOK 9, PAGE 70, OF THE PUBLIC
         RECORDS OF HILLSBOROUGH COUNTY, FLORIDA.

        The common address is: 1004 East Ida Street, Tampa, FL 33603 (the “Property”).

        4.        The Property has not been claimed exempt by Debtor and has not been abandoned

by the Trustee.

        5.        The payments due pursuant to the aforementioned Note and Mortgage have been

in default, and remain in default, since February 1, 2019.

        6.        As of March 25, 2019, the approximate value of debt due is $173,101.74.

        7.        Debtor has failed to adequately protect the interest of Secured Creditor, U.S. Bank

National Association, Successor Trustee to Bank of America, N.A. as Successor to LaSalle Bank,

N.A. as Trustee, for Merrill Lynch First Franklin Mortgage Loan Trust, Mortgage Loan Asset-

Backed Certificates, Series 2007-3.

        8.        The Hillsborough County Property Appraiser's website for the Property reflects a

market value of $84,800.00. A copy of the valuation is attached as Exhibit “B”.

        9.        There is no equity in the Property.



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        10.      Secured Creditor, U.S. Bank National Association, Successor Trustee to Bank of

America, N.A. as Successor to LaSalle Bank, N.A. as Trustee, for Merrill Lynch First Franklin

Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2007-3, is prohibited from

initiating a foreclosure in the State Court because of the pendency of this bankruptcy action and,

in the absence of the Court's order allowing Secured Creditor to initiate a foreclosure action, the

Secured Creditor’s security interest will be significantly jeopardized.

        11.      Secured Creditor, U.S. Bank National Association, Successor Trustee to Bank of

America, N.A. as Successor to LaSalle Bank, N.A. as Trustee, for Merrill Lynch First Franklin

Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2007-3, also seeks relief to

consider Debtor for any short sale or deed in lieu of foreclosure as alternatives to proceeding

with a judicial foreclosure action.

        12.      Once the stay is terminated, Debtor will have minimal incentive to insure,

preserve, or protect the Property; therefore, Secured Creditor, U.S. Bank National Association,

Successor Trustee to Bank of America, N.A. as Successor to LaSalle Bank, N.A. as Trustee, for

Merrill Lynch First Franklin Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates,

Series 2007-3, requests that the Court waive the 14-day stay period imposed by Fed.R.Bankr.P.

4001(a)(3).

        13.      This Motion seeks in rem relief only and does not seek in personam relief against

Debtors.

        14.      Pursuant to M.D. Fla. L.B.R. 9004-2(f) the estimated time required for hearing is

five (5) minutes.




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        WHEREFORE, Secured Creditor, U.S. Bank National Association, Successor Trustee to

Bank of America, N.A. as Successor to LaSalle Bank, N.A. as Trustee, for Merrill Lynch First

Franklin Mortgage Loan Trust, Mortgage Loan Asset-Backed Certificates, Series 2007-3, moves

this Honorable Court for an Order granting relief from the automatic stay and waiver of the 14-

day stay imposed by Fed.R.Bankr.P. 4001(a)(3).

                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent via CM/ECF
electronic filing or via first class U.S. Mail to the following on this 5TH day of April, 2019.

Jason Jeffrey Rockenbach, 10126 Somersby Drive, Riverview, FL 33578
Robert M Geller, 807 West Azeele Street, Tampa, FL 33606
Carolyn R. Chaney, P.O. Box 530248, St Petersburg, FL 33747
United States Trustee, 501 E. Polk Street, Suite 1200, Tampa, FL 33602

                                           /s/ Lindsey Savastano
                                           Lindsey Savastano
                                           FL Bar # 57079
                                           Shapiro, Fishman & Gaché, LLP
                                           Attorney for Secured Creditor
                                           2424 North Federal Highway
                                           Suite 360
                                           Boca Raton, Florida 33431
                                           Telephone: 561-542-7621
                                           Fax: (561) 998-6707
                                           E-mail: Lsavastano@LOGS.com




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                                                                                         Bob Henriquez
                                                                  Hillsborough County Property Appraiser
                                                                                                    https://www.hcpafl.org/
                                                                                                     15th Floor County Ctr.
                                                                            601 E. Kennedy Blvd, Tampa, Florida 33602-4932
                                                                                                        Ph: (813) 272-6100



Folio: 172338-0000
                                            Owner Information
                                            Owner Name            ROCKENBACH JASON

                                            Mailing Address       10005 REMINGTON DR
                                                                  RIVERVIEW, FL 33578-8344
                                            Site Address          1004 E IDA ST, TAMPA
                                            PIN                   A-06-29-19-4LN-000000-00014.0
                                            Folio                 172338-0000
                                            Prior PIN
                                            Prior Folio           000000-0000
                                            Tax District          TA - TAMPA
                                            Property Use          0100 SINGLE FAMILY R
                                            Plat Book/Page        9/70
                                            Neighborhood          205005.00 | SE Seminole Heights Area
                                            Subdivision           4LN | PIERCE SUBDIVISION



Value Summary
Taxing District           Market Value              Assessed Value              Exemptions               Taxable Value
County                    $84,800                   $64,156                     $0                       $64,156
Public Schools            $84,800                   $84,800                     $0                       $84,800
Municipal                 $84,800                   $64,156                     $0                       $64,156
Other Districts           $84,800                   $64,156                     $0                       $64,156

Note: This section shows Market Value, Assessed Value, Exemptions, and Taxable Value for taxing districts. Because of changes in
Florida Law, it is possible to have different assessed and taxable values on the same property. For example, the additional $25,000
Homestead Exemption and the non-homestead CAP do not apply to public schools, and the Low Income Senior Exemption only applies
to countywide and certain municipal millages.

Sales Information
Book              Page           Month      Year       Type Inst Qualified or          Vacant or Improved    Price
                                                                 Unqualified
16948             0021           08         2006       WD        Qualified             Improved              $127,000




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                                                      EXHIBIT B
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Building Information
Building 1
Type                                    01 | SINGLE
                                        FAMILY
Year Built                              1925
Building 1 Construction Details
Element                     Code   Construction Detail
Class                       D      Wood Frame
Exterior Wall               4      Wood/Masonry Siding
Roof Structure              3      Gable or Hip
Roof Cover                  3      Asphalt/Comp. Shingle
Interior Walls              5      Drywall
Interior Flooring           8      Carpet
Heat/AC                     2      Central
Architectural Style         6      Pre-1940 1-Story
Condition                   3      Average
Bedrooms                    2.0
Bathrooms                   1.0
Stories                     1.0
Units                       1.0

Building 1 subarea
           Area Type                    Gross Area                    Heated Area              Depreciated Value
              BAS                           94                             94                       $4,839
              BAS                         1,044                          1,044                     $53,740
              FSP                          192                                                      $2,986
             Totals                       1,330                          1,138                     $61,565

Extra Features
OB/XF        Description                         Building   Year On      Length      Width     Units        Value
Code                                                        Roll
0651         SHED NOT PERMANENTLY AFFIXED 0                 2017         0           0         1.00         $0
0595         FIREPLACE                    1                 1997         0           0         1.00         $2,486

Land Information - Total Acreage: 0.10
Use Code     Description            Zone         Front      Depth        Land Type             Total Land   Land Value
                                                                                               Units
REDF         Res SF Class 4.35      SH-RM        50.00      90.00        SE | SF LOTS W/ EFF   4,500.00     $20,750
                                                                         SIZE

Legal Description
PIERCE SUBDIVISION S 90 FT OF LOT 14




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                                                   EXHIBIT B
